         Case 7:16-cv-00459-RDP Document 29 Filed 11/05/18 Page 1 of 2                                   FILED
                                                                                                2018 Nov-05 PM 04:26
                                                                                                U.S. DISTRICT COURT
                                                                                                    N.D. OF ALABAMA


                           UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ALABAMA
                                WESTERN DIVISION
 SURGICAL SPECIALISTS OF                          }
 ALABAMA, P.C., et al.,                           }
                                                  }
        Plaintiffs,                               }
                                                  }    Case No.: 7:16-cv-00459-RDP
 v.                                               }
                                                  }
 STERICYCLE, INC.,                                }
                                                  }
        Defendant.                                }


 MOUNT ROYAL TOWERS,                              }
                                                  }
        Plaintiff,                                }
                                                  }
 v.                                               }    Case No.: 2:18-cv-01105-RDP
                                                  }
 STERICYCLE, INC.,                                }
                                                  }
        Defendant.                                }
                                                  }


 PRICARE, P.A., et al.,                           }
                                                  }
        Plaintiffs,                               }
                                                  }
 v.                                               }    Case No.: 2:18-cv-01594-RDP
                                                  }
 STERICYCLE, INC.,                                }
                                                  }
        Defendant.                                }
                                                  }



                                             ORDER

       These cases are before the court on the parties’ Renewed Second Joint Motion to

Consolidate for Pre-Trial Proceedings filed in Surgical Specialists of Alabama, et al. v. Stericycle,
         Case 7:16-cv-00459-RDP Document 29 Filed 11/05/18 Page 2 of 2



Inc., No. 7:16-cv-00459-RDP (Doc. # 27) and Mount Royal Towers v. Stericycle, Inc., No. 2:18-

cv-01105-RDP (Doc. # 23). The parties have also filed a Joint Notice of Filing for the Renewed

Second Motion to Consolidate in PriCare, P.A., et al. v. Stericycle, Inc., No. 2:18-cv-01594-RDP

(Doc. # 27). The court has reviewed the allegations in each case and finds that there are sufficient

common questions of law and fact to justify consolidating the actions for discovery purposes. In

light of the parties’ consent to consolidation, the Clerk of the Court is DIRECTED to

CONSOLIDATE case number 2:18-cv-01594-RDP with the already consolidated case numbers

7:16-cv-00459-RDP and 2:19-cv-01105-RDP for discovery purposes only. The parties SHALL

file documents only in the lead case, 7:16-cv-00459-RDP. Every document filed in this

consolidated matter must include the style and case number of each case.

       Furthermore, a status conference is SET for Monday, November 19, 2018 at 3:30 p.m. in

the chambers of the undersigned. On or before Thursday, November 15, 2018, the parties

SHALL file a joint report addressing how these cases should proceed with respect to the currently

pending motions to dismiss.

       DONE and ORDERED this November 5, 2018.



                                              _________________________________
                                              R. DAVID PROCTOR
                                              UNITED STATES DISTRICT JUDGE
